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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                              03/26/2025
                                                                       :
METROPOLITAN TRANSPORTATION                                            :
AUTHORITY, et al.,                                                     :
                                                                       :
                                    Plaintiffs,                        :             25-cv-1413 (LJL)
                                                                       :
                  -v-                                                  :                 ORDER
                                                                       :
SEAN DUFFY, et al.                                                     :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        Proposed Intervenor-Plaintiff New York State Department of Transportation

(“NYSDOT”) moves for leave to intervene in the above-captioned case, pursuant to Federal Rule

of Civil Procedure 24. Dkt. Nos. 30–31. Counsel for the Metropolitan Transit Authority and

counsel for the Defendants have stated that they do not oppose NYSDOT’s motion to intervene.

Dkt. Nos. 31 at 2; Dkt. No. 35. The Court grants NYSDOT’s motion pursuant to Federal Rule of

Civil Procedure 24(b).

        Federal Rule of Civil Procedure 24(b) states in relevant part that “[up]on timely motion,

the court may permit anyone to intervene who . . . has a claim or defense that shares with the

main action a common question of law or fact.” Fed. R. Civ. P. 24(b). The Court has “broad

discretion” to grant or deny the motion. AT & T Corp. v. Sprint Corp., 407 F.3d 560, 561 (2d Cir.

2005); Bldg. & Realty Inst. of Westchester & Putnam Ctys., Inc. v. State of New York, 2020 WL

5658703, at *12 (S.D.N.Y. Sept. 23, 2020).

        NYSDOT’s application is timely. See Green v. Biden, 2024 WL 4932751, at *7

(E.D.N.Y. Dec. 2, 2024) (“Proposed Intervenors timely filed their motion before Defendants even

filed their Answer.”). “The principal guide in deciding whether to grant permissive intervention
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is whether the intervention will unduly delay or prejudice the adjudication of the rights of the

original parties.” United States v. Pitney Bowes, Inc., 25 F.3d 66, 73 (2d Cir. 1994) (quotation

omitted); Fed. R. Civ. P. 24(b)(3). No party has identified any potential prejudice to the

adjudication of their rights and there is no undue delay given the early posture of this case.

       “The words ‘claim or defense’ are not ‘read in a technical sense, but only require some

interest on the part of the applicant.’” United States v. NYCHA, 326 F.R.D. 411, 418 (S.D.N.Y.

2018) (quoting Louis Berger Grp., Inc. v. State Bank of India, 802 F.Supp.2d 482, 488 (S.D.N.Y.

2011)). NYSDOT’s claims “share the same fundamental question of law with the main suit.”

335-7 LLC v. City of New York, 2020 WL 3100085, at *3 (S.D.N.Y. June 11, 2020); see Blatch v.

Franco, 1998 WL 265132, at *7 (S.D.N.Y. May 26, 1998) (Chin, J.) (“[I]ntervention is

appropriate here where the intervenors seek virtually the same relief as the named plaintiffs.”);

compare Dkt. No. 1 with Dkt. No. 30-1. Permissive intervention is further appropriate where, as

here, the applicant’s interest will be finally determined by the suit. See Dow Jones & Co. v. U.S.

Dep’t of Just., 161 F.R.D. 247, 254 (S.D.N.Y. 1995) (Sotomayor, J.) (citing Arizona v.

California, 460 U.S. 605, 615 (1983)). NYSDOT is the executive agency tasked “with overall

responsibility for balanced transportation policy and planning” on the state’s behalf. See N.Y.

Transp. Law § 10. In that capacity, the NYSDOT “has an interest in securing observance of the

terms under which it participates in the federal system.” Alfred L. Snapp & Son, Inc. v. Puerto

Rico, 458 U.S. 592, 607–08 (1982).

       Because the Court grants NYSDOT’s motion pursuant to Federal Rule of Civil

Procedure 24(b), the Court need not consider NYSDOT’s argument that intervention is also

warranted as a matter of right pursuant to Federal Rule of Civil Procedure 24(a).
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      The Clerk of Court is respectfully directed to close Dkt. No. 30.




      SO ORDERED.

Dated: March 26, 2025                            __________________________________
       New York, New York                                   LEWIS J. LIMAN
                                                        United States District Judge
